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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


BOARDS OF TRUSTEES OF
OHIO LABORERS BENEFITS,

               Plaintiff,
                                                       Civil Action 2:20-cv-4703
                                                       Judge Sarah D. Morrison
       v.                                              Magistrate Judge Chelsey M. Vascura


THE NAPP-GRECCO COMPANY,

               Defendant.


                                               ORDER

       The parties reported this case as settled on March 19, 2021. (ECF No. 14.) Accordingly,

it is ORDERED that this action is DISMISSED with prejudice, provided that any of the parties

may, upon good cause shown within sixty (60) days, reopen the action if settlement is

not consummated. The parties may substitute a more particularized Order of Dismissal within

this same time frame, should they so desire.

       IT IS SO ORDERED.


                                                   /s/ Chelsey M. Vascura
                                                   CHELSEY M. VASCURA
                                                   UNITED STATES MAGISTRATE JUDGE
